 Allen Villegas, Petitioner  v.  Dr. Hugh Macaulay and Industrial Claim Appeals Office of the State of Colorado, Respondents No. 22SC444Supreme Court of Colorado, En BancJanuary 17, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA288
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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